                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

United States of America,

       Plaintiff,

v.                                           Case No. 3:14-0200

Quinton Leavell,                             Judge Sean F. Cox

      Defendant.
_________________________________/

                                 MEMORANDUM OPINION

       Jury trial began in this case on November 6, 2017. On November 8, 2017, the Court

heard oral argument on the admissibility of Government’s Exhibits 13 and 14. At the conclusion

of arguments, the Court ruled that both exhibits were admissible. The Court now issues this

Memorandum Opinion to further explain its rulings in writing.

                                          Background

       Defendant has been charged with: (1) conspiracy to commit robbery affecting commerce

(Hobbs Act robbery), 18 U.S.C. § 1951; (2) using, carrying, brandishing and discharging a

firearm during and in relation to a crime of violence, to-wit: conspiracy to commit robbery

affecting commerce, 18 U.S.C. § 924(c)(1)(A); and (3) possessing and discharging a firearm in

furtherance of a crime of violence, to-wit: Hobbs Act extortion and robbery, causing the death of

the named victim, 18 U.S.C. §§ 924(c)(1) and 924(j).

       At issue is the admissibility of the Government’s Exhibits 13 and 14. Exhibit 13 is letters

purportedly written by Defendant Quinton Leavell to Xavier Farmer while both were detained in

the Grayson County Jail. Exhibit 14 is a letter written on napkins that were purportedly written




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by Xavier Farmer to Defendant, also while both were detained in jail.

                                            ANALYSIS

       Defendant challenged the admissibility of both exhibits, arguing that they were not

properly authenticated and that they were not relevant.

                                         I. Authentication

       “To satisfy the requirement of authenticating or identifying an item of evidence, the

proponent must produce evidence sufficient to support a finding that the item is what the

proponent claims it is.” Fed. R. Evid. 901(a).

       The Government sought to authenticate Exhibit 13, the letters purportedly written by

Defendant Quinton Leavell, under Rule 901(b)(3) (Comparison by an Expert Witness or the Trier

of Fact) and (b)(4) (Distinctive Characteristics and the Like). As stated at the hearing, the Court

finds Rule 901(b)(3) to be the appropriate rule in this context. Rule 901(b0(3) “permits the trier

of fact to compare documents with other documents which have been authenticated.” United

States v. Saadey, 393 F.3d 669, 679 (6th Cir. 2005).

       In this case, the Government admitted Exhibit 13A, which is a letter sent from Defendant

to Judge Campbell and his clerk and that contained his case number and discussed details of the

case. This letter was filed with the Court and is a part of the docket (Doc. # 36). Accordingly,

the Court finds that this letter has been properly authenticated as a letter written by Defendant.

It would defy logic and common sense to conclude that this letter was not sent by Defendant but

was instead sent by some other unknown individual. And, if this letter was not written by

Defendant, it would also defy logic that Defendant or defense counsel did not challenge its

continuing presence on the Court’s docket. Because an authenticated document written by

Defendant was introduced into evidence, Rule 901(b)(3) permits the jury, as the trier of fact, to



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make lay comparisons between that document and the purported letters of Defendant introduced

as Exhibit 13. Saadey, 393 F.3d at 679-80.

       As to Exhibit 14, the letter purportedly written by Xavier Farmer, the Government relied

upon Rule 901(b)(4), which considers “[t]he appearance, contents, substance, internal patterns, or

other distinctive characteristics of the item, taken together with all the circumstances.” Writings

may be authenticated under this rule where they deal with matters “particularly within the

knowledge of the persons corresponding” such that the contents are not a “matter of common

knowledge.” United States v. Jones, 107 F.3d 1147, 1150 (6th Cir. 1997), quoting United States

v. Maldonado-Rivera, 922 F.2d 934, 957 (2d. Cir. 1990). In Jones, a card allegedly written by

the defendant met the authentication requirements of Rule 901 where it contained references

about the recipients family members that nobody else could have written. Id.

       Here, the letter is signed by “Factor,” which testimony identified as Farmer’s nickname.

The letter refers to the author’s court proceeding before Judge Trauger and refers to the Assistant

United States Attorney involved by name. The letter also discusses the Government’s intent to

seek immunity for Farmer, which he did in fact receive. And, to corroborate this information, the

Government introduced court pleadings to show that Farmer was, in fact, in court before Judge

Trauger on October 30th. The Court finds that contents of the letter, taken together with the

circumstances, are sufficiently distinctive to identify them as being written by Xavier Farmer,

thereby satisfying Rule 901.

                                          II. Relevance

       Second, Defendant challenged the relevance of both exhibits. Evidence must be relevant

to be admissible. Fed. R. Evid. 402. “Evidence is relevant if: (a) it has any tendency to make a

fact more or less probable than it would be without the evidence; and (b) the fact is of



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consequence in determining the action.” Fed. R. Evid. 401. This is a “low bar.” United States v.

Dowlen, 514 Fed. App’x. 559, 564 (6th Cir. 2013).

       In this case, the existence of a conspiracy was established by the testimony of Antonio

Darden. The contents of the letters in Exhibits 13 and 14 help establish that Defendant and

Farmer had a close relationship, which is relevant to the conspiracy charge. The letters also

discuss Farmer’s impending non-cooperation with the Government and demonstrate that

Defendant and Farmer are engaged in an ongoing conspiracy. This information tends to show

Defendant’s consciousness of guilt. Therefore, the Court finds that Exhibits 13 and 14 are

relevant and admissible under Rules 401 and 402. Further, the Court finds that the probative

value of the letters is not substantially outweighed by the danger of unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence. See Fed. R. Evid. 403.

                                              s/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge
                                              Sitting by Special Designation
Dated: November 9, 2017




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